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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )      NO. 4:20CR00561 JAR
                v                                )
                                                 )
TRAVON LAWRENCE,                                 )
                                                 )
                        Defendant.               )


                                 GUILTY-PLEA AGREEMENT

        Come now the parties and hereby agree, as follows:

1.      PARTIES:

        The parties are the defendant Travon Lawrence, represented by defense counsel James L.

Miller, and the United States of America (hereinafter "United States" or "Government"),

represented by the Office of the United States Attorney for the Eastem District of   Missouri. This

agreement does not, and is not intended to, bind any governmental office or agency other than the

United States Attorney for the Eastern District of Missouri. The Court is neither a party to nor

bound by this agreement.

2.      GUILTY PLEA:

        A.      The   Plea:         Pursuant   to Rule 1l(c)(1)(A), of the Federal Rules of Criminal

 Procedure, in exchange for the Defendant's voluntary plea of guilty to Counts One, Two, Four and

 Five of the indictment, the United States agrees to dismiss Counts Three and Six at the time of

 sentencing. The United States further agrees that no further federal prosecution will be brought

 in this District relative to Defendant's violations of federal law, known to the United States at this

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time, arising out of the events set forth in the indictment.

B.      The   Sentence:           The parties agree that the recommendations contained herein fairly

and accurately set forth some guidelines that may be applicable to this      case. The parties   agree

to make a joint recommendation that Defendant be sentenced to 60 months on Count Two

and 84 months on Count Five to run consecutive to each other and consecutive to the low-

end of the U.S. Sentencing Guidelines range (combination of Total Offense Level and

Criminal History Category) ultimately determined by the Court for Counts One and Four

at the time of   sentence.   The parties further agree that neither party may request a sentence above

or below the U.S. Sentencing Guidelines range (combination of Total Offense Level and Criminal

History Category) ultimately determined by the Court. The parties understand that the Court is

neither a party to nor bound by the Guidelines recommendations agreed to in this document.

3.     ELEMENTS:

       A.        Count   One:     As to Count One, the Defendant admits to knowingly violating Title

21, United States Code, Section 8al(a)(l) and admits there is a factual basis for the plea, and

further fully understands that the elements of the crime are:

       (i) Defendant possessed a mixture or substance containing a detectable amount of

       fentanyl, a Schedule    Il controlled   substance;

       (ii) Defendant possessed it knowingly and intentionally; and

       (iii) Defendant did   so   with intent to distribute it to another person.

       B. @:
       As to Count Two, the Defendant admits to knowingly violating Title 18, United States

Code, Section 924(c), and admits there is a factual basis for the plea and further fully understands


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that the elements of the crime are as follows:

       (D      The Defendant committed the crime of possession with intent to distribute            a

               controlled substance, i. e., fentanyl; and

       (ii)    The Defendant knowingly possessed a firearm in furtherance of that crime.




       C.      Count Four: As to Count Four, the Defendant admits to knowingly violating Title

18, United States Code, Sections 2179, and admits there is a factual basis for the plea and further

fully understands that the elements of the crime are as follows:

               (D      The Defendant, took a 2015 Kia Sportage, vehicle identification number

                       ("VIN') KNDPB1AC2F778|770, from the person or presence of another;

               (iD     The Defendant did so by means of force, violence, or intimidation;

               (iii)   The aforementioned 2015 Kia Sportage had been transported in interstate

                       commerce; and

               (iv)    At or during the time the Defendant took the aforementioned 2015 Kia

                       Sportage, he intended to cause death or serious bodily injury.

       D.      Count   Five:   As to Count Five, the Defendant admits to knowingly violating Title

18, United States Code, Sections 924(c), and admits there is a factual basis for the plea and further

fully understands that the elements of the crime are as follows:

               (i)     The Defendant committed the crime of armed carjacking as set forth in

                       Count Four of the indictment; and

               (iD     The Defendant knowingly possessed and brandished               a   firearm in

                       furtherance of that crime.


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4.     FACTS:

       The parties agree that the facts in this case are as follows and that the United States would

prove these facts beyond a reasonable doubt     if the case were to go to trial.    These facts may be

considered as relevant conduct pursuant to Section 181.3:

       On September   7   ,2019, in the City of St. Louis, within the Eastern District of Missouri,

officers with the St. Louis Metropolitan Police Department (SLMPD) observed a silver

Chevrolet Malibu violate a stop sign at the intersection of Webster and Cass Avenues. The

officers conducted a traffic stop and requested pedigree information from the driver and a

passenger, later determined to be   Defendant. Defendant initially provided       a false name and date


of birth and was asked to exit the vehicle. As Defendant exited the vehicle, the officers

observed that he was wearing a black satchel around his         shoulder. One of the officers placed   a


hand under the bottom of the satchel and felt a heavy object he believed to be a      firearm. The

officer asked Defendant if it was a weapon to which Defendant responded "yes". The officer

removed the bag and located a fully loaded .40 caliber semi-automatic pistol       inside. Defendant

subsequently provided the officer with his real name and date of birth and a computer inquiry

showed that he was a previously convicted     felon.   The firearm was seized and was identified as

a Ruger .40 caliber semi-automatic pistol. The firearm functioned as designed.       A search of

Defendant subsequent to arrest revealed a plastic bag in Defendant's breast pocket containing 59

black and clear capsules that contained fentanyl.

       The SLMPD Crime Lab tested the suspected controlled substances. The 59 clear and blue

capsules tested positive   for fentanyl (total weight 5.7 grams). Expert testimony, in the event of

trial, would establish that the amount of fentanyl possessed by the Defendant and the manner of


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packaging in the instant case is consistent with the intent to distribute. Defendant admits that he

possessed the Ruger .40 caliber semi-automatic pistol in furtherance of possession     with intent to

distribute a controlled substance.

       On January 8, 2020, in the City of St. Louis, within the Eastern District of Missouri,

SLMPD officers were dispatched for a robbery at 348 Newstead. As they responded to that

address, they observed a Kia Sportage telling traveling with no   headlights. After illuminating the

interior of the vehicle with a spotlight, they observed the driver to be a black male dressed in dark

clothing with a hood and mask covering his mouth. The officers pulled behind the vehicle and

activated their emergency equipment at which time the driver accelerated and fled with the officers

in pursuit. While in pursuit of the vehicle, the officers received a dispatch advising that a Kia

Sportage was taken    in a carjacking at 4355 Maryland approximately six minutes prior to the

robbery on Newstead. The driver of the Kia continued to flee with police in pursuit until it

reached a dead-end atNewstead and Sarah and crashed into fence post after which the driver exited

the vehicle and fled on   foot. During a canvass of the area, police located Defendant in the
stairwell of a basement of a residence located at 4167 Delmar and Defendant was arrested.

Police located a loaded S&W M&P 9 Shield 9mm semi-automatic pistolon the driver's seat of the

Kia.

         Police interviewed the victim of the carjacking, K. W., who advised that after   placing   a


Christmas present into her 2015 Kia Sportage, vehicle identification number     ('VlN')

KNDPB LAC2F7781770,thatwas parked in the 4300 block of Maryland Avenue, in the City of

St. Louis, Missouri, she tumed around and a black male was standing at the rear of her car

pointing a small black gun at her and said "Give me your keys" after which she threw the keys,


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yelled and then ran away. The victim was transported to the Delmar address and positively

identified Defendant as the person who carjacked      her.       The victim was shown the pistol seized

from the Kia and identified it as the gun that Defendant used in the carjacking. The firearm

functioned as designed.

         The 2015 Kia Sportage had been transported across state lines and in interstate commerce

prior to the aforementioned carjacking. During the carjacking of the Kia Sportage, Defendant

admits that he intended to cause death or serious bodily injury,            if   necessary,   to steal the Kia

Sportage. Defendant further admits that       he possessed and brandished the firearm in furtherance


of the carjacking.

5.      STATUTORY PENALTIES:

        A.      Statutorv Penalties: The Defendant fully understands that the maximum possible

penalties provided by law for the crimes to which the Defendant is pleading guilty are:

                (i)    Count One: As to Count One, the defendant fully understands that the

maximum possible penalty provided by law for the crime to which the defendant is pleading guilty

is imprisonment of not more than twenty years, a fine of not more than $1,000,000, or both such

imprisonment and       fine.   The Court shall also impose a period of supervised release of at least

three years.

                (ii)    Count Two: As to Count Two, the Defendant fully understands that the

maximum possible penalties provided by law for the crime to which the Defendant is pleading

guilty is imprisonment of not less than five (5) years, but not more than life, consecutive to any

other sentence imposed; a fine of not more than S250,000; or both such imprisonment and fine.

The Court shall impose a period of supervised release of not more than five          years.    The Defendant



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fully understands that the crime to which a guilty plea is being entered on Count Two requires         a

mandatory minimum term         of imprisonment of 60 months consecutive to any other           sentence

imposed.

               (iiD    Count    Four:     As to Count Four, the defendant fully understands that the

maximum possible penalty provided by law for the crime to which the defendant is pleading guilty

is imprisonment of not more than fifteen years, a fine of not more than $250,000, or both such

imprisonment and    fine.   The Court also may impose a period of supervised release of not more

than three years.

               (iv)    Count    Five:   As to Count Five, the Defendant fully understands that the

maximum possible penalties provided by law for the crime to which the Defendant is pleading

guilty is imprisonment of not less than seven years, but not more than life, consecutive to any other

sentence imposed; a fine of not more than $250,000; or both such imprisonment and            fine.   The

Court also may impose   a   period of supervised release of not more than five   years.   The Defendant


fully understands that the crime to which a guilty plea is being entered on Count Five requires        a


mandatory minimum term         of imprisonment of 84 months consecutive to any other           sentence


imposed.

6.      U.S. SENTENCING GUIDELINES: 2021 MAIIIUAL

        The Defendant understands that these offenses are affected by the U.S. Sentencing

Guidelines and the actual sentencing range is determined by both the Total Offense Level and the

Criminal History Category. The parties agree that the following are the U.S. Sentencing

Guidelines Total Offense Level provisions that apply:




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        A.     Offense Conduct:


                                 COUNT ONE
               POSSESSION WITH INTENT TO DISTRIBUTE FENTANYL


               (i)     Chapter 2 Offense Conduct:

                                (a)    Base Offense   Level:      The parties further agree that, as to

Count One, the base offense level is l4 as found in Section 2Dl.l(c)(12). The parties agree that

the net weight of the quantity of controlled substances the defendant possessed with the intent to

distribute was at least 4 grams but less than 8 grams of fentanyl resulting in the base offense level

of   14 unless Defendant is a Career Offender. Depending on the underlying offense and

defendant's criminal history, Defendant could be a Career Offender pursuant to Section 48          l.l . If

the Court finds Defendant to be a Career Offender, the advisory Total Offense Level, with a 3-

level reduction of responsibility taken into account,     will   be a Level 29 with a Criminal History

Category score of    VI.   Defendant has discussed these possibilities with defense      counsel. Both

parties reserve the right to argue that the Defendant is or is not a Career Offender.

                       (b)      Specific Offense Characteristics: The parties agree that the

following Specific Offense Characteristics   apply:   none known at this time.

                       (c)      Chapter 3 Adiustments:

                                (i)     Acceptance of Responsibilitv: The parties recommend that

two levels should be deducted pursuant to Sentencing Guidelines Section 3E1.1(a)                 because

Defendant has clearly demonstrated acceptance of responsibility.           If the deduction pursuant to

Sentencing Guidelines Section 3E1.1(a) is applied, then the United States moves to deduct one

additional level pursuant to Sentencing Guidelines Section 3El .1(bX2), because Defendant timely

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notified authorities of the intention to enter a plea of guilty, thereby permitting the United States

to avoid preparing for trial and permitting the Court to allocate its resources efficiently.

        The parties agree that if Defendant does not abide by all of the agreements made within

this document, Defendant's failure to comply is grounds for the loss of acceptance of responsibility

pursuant to Sentencing Guidelines Section      3El.l.     The parties further agree that Defendant's

eligibility for a reduction pursuant to Sentencing Guidelines Section 3E1.1 is based upon the

information known at the present time and that any actions of Defendant which occur or which

become known to the United States subsequent to this agreement and are inconsistent with

Defendant's acceptance     of responsibility including, but not limited to criminal conduct,          are


grounds for the loss of acceptance of responsibility pursuant to Sentencing Guidelines Section

3E1.1. In any event,   the parties agree that all of the remaining provisions of this agreement remain


valid and in full force and effect.


                                   COUNT TWO
                POSSESSION OF A FIREARM IN FURTHERAI\CE
                     OF A DRUG TRAFFICKING CRIME


                (i)     Chapter 2 Offense Conduct:

                        (a)     Base          Level The parties agree that the Base Offense Level

is found in Section 2K2.4(b).

                        (b)     Specific Offense Characteristics: The parties agree            that   the

following Specific Offense Characteristics   apply:    none known at this time.

                        (c)     Chapter 3 and 4 Adiustments: Pursuant to Section 2K2.4(b) and

Application Note 5, Chapters Three and Four do not apply. Therefore, as to Count Two, Defendant


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 is not entitled to an acceptance of responsibility reduction under Section 3E1 .l   .




                                           COUNT FOUR
                                           CARJACKING


                (D      Chapter 2 Offense Conduct:

                        (a)     Base Offense   Level:   The parties agree that the Base Offense Level

 is 20, as found in Section 283.1(a)

                        (b)     SpecificOffenseCharactsrislie$: The parties agree that the

 following Specific Offense Characteristics apply: two levels should be added pursuant to Section

 2B3.1(bX5) because the offense involved carjacking.

                        (c)     Chapter 3 Adiustments:

                                (i) Reckless Endaneerment Durins        Flieht:   The parties agree

 that two levels should be added pursuant to Section 3C1.2 because the Defendant recklessly

 created a substantial risk of death or serious bodily injury to another person in the course of fleeing

 from a law enforcement officer.

                                (ii)    Acceptance of Responsibilitv: The parties recommend that

 two levels should be deducted pursuant to Sentencing Guidelines Section 3E1.1(a)               because


 Defendant has clearly demonstrated acceptance of responsibility.        If the deduction pursuant    to

 Sentencing Guidelines Section 3E1.1(a) is applied, then the United States moves to deduct one

 additional level pursuant to Sentencing Guidelines Section 3E,l .l (bX2), because Defendant timely

 notified authorities of the intention to enter a plea of guilty, thereby permitting the United States

 to avoid preparing for trial and permitting the Court to allocate its resources efficiently.

         The parties agree that if Defendant does not abide by all of the agreements made within

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 this document, Defendant's failure to comply is grounds for the loss of acceptance of responsibility

 pursuant to Sentencing Guidelines Section 3E1.1. The parties further agree that Defendant's

 eligibility for a reduction pursuant to Sentencing Guidelines Section 381.1 is based upon the

 information known at the present time and that any actions of Defendant which occur or which

 become known to the United States subsequent to this agreement and are inconsistent with

 Defendant's acceptance       of responsibility including, but not limited to criminal conduct, are

 grounds for the loss     of acceptance of responsibility pursuant to Sentencing Guidelines Section

 3E1.1   .   In any event, the parties agree that all of the remaining provisions of this agreement remain

 valid and in full force and effect.


                                  COUNT FIVE
             BRANDISHING OF FIREARM IN FURTHERANCE OF A CARJACKING

                   (i)     Chapter 2 Offense Conduct:

                           (a)      Base Offense   Level:   The parties agree that the Base Offense Level

 is found in Section 2K2.4(b).

                           (b)      Snecific Offense Characteristics: The parties agree          that   the

 following Specific Offense Characteristics apply: none known at this time.

                    (iD    Chapter 3 and 4 Adiustments: Pursuant to Section 2K2.4(b) and

 Application Note 5, Chapters Three and Four do not                apply.   Therefore, as to Count Five,

 Defendant is not entitled to an acceptance of responsibility reduction under Section 3E1.1.

             C.     Estimated Total Offense    Level:       Based on these recommendations, the parties

 estimate that the Total Offense Levels are as follows:

                    (D      Count   One:   The parties agree that the Total Offense Levei for Count One



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 is   12.


                 (ii)     Count    Two: The parties agree that with respect to Count Two, the
 Defendant will receive a mandatory minimum sentence of 60 months, which will run consecutively

 to any other sentence Defendant may receive.

                 (iiD     Count Four: The parties agree that the Total Offense Level for Count Four

 is 21.

                 (iv)     Count Five: The parties agree that with respect to Count Five, the

 Defendant will receive   a   mandatory minimum sentence of 84 months, which     will run consecutively

 to any other sentence Defendant may receive.

            C.   Criminal      Historv:   The determination of the Defendant's Criminal History

 Category shall be left to the    Court. Either party may challenge, before and at sentencing,       the

 finding of the Presentence Report as to the Defendant's criminal history and the applicable

 category. The Defendant's criminal history is known to the Defendant and is               substantially

 available in the Pretrial Services Report.

            D.   Effect of Parties' U.S. Sentencing Guidelines Analvsis: The parties agree that the

 Court is not bound by the Guidelines analysis agreed to    herein.   The parties may not have foreseen


 all applicable Guidelines. The Court may, in its discretion, apply or not apply any Guideline

 despite the agreement herein and the parties shall not be permitted to withdraw from the plea

 agreement.

 7.         WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

            A.   Appeal: The Defendant         has been fully apprised by defense counsel of the

 Defendant's rights concerning appeal and     fully   understands the right to appeal the sentence under



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 Title 18, United States Code, Section3742.

                i.        Non-Sentencins Issues: The parties waive all rights to appeal all non-

jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial

 motions, discovery and the guilty plea, the constitutionality of the statutes to which Defendant is

 pleading guilty, and whether Defendant's conduct falls within the scope of the statutes.

                ii.       Sentencing   Issues: In the event the Court       accepts the plea and, after

 determining a Sentencing Guidelines range, sentences the Defendant within or below that range,

then, as part of this agreement, the Defendant hereby waives all rights to appeal all sentencing

 issues other than Criminal History, but only   if it affects the Base Offense Level or Criminal History

 Category. Similarly, the United States hereby waives all rights to appeal all sentencing issues other

 than Criminal History, provided the Court accepts the plea and sentences the Defendant within or

 above the determined Sentencing Guidelines range.

        B.      Habeas     Corpus: The Defendant            agrees   to waive all rights to   contest the

 conviction or sentence in any post-conviction proceeding, including one pursuant to Title 28,

 United States Code, Section 2255, except for claims of prosecutorial misconduct or ineffective

 assistance of counsel.

         C.     Risht to Records: The Defendant waives all rights, whether asserted directly or

 by a representative, to request from any department or agency of the United States any records

 pertaining to the investigation or prosecution ofthis case, including any records that may be sought

 under the Freedom of Information Act, Title 5, United States Code, Section 522, or the Privacy

 Acq Title 5, United States Code, Section 552(a).




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 8.     OTHER:

        A.           Disclosures Required bv the United States Probation             Office:   The Defendant

 agrees to   truthfully complete and sign forms as required by the United States Probation Office

 priorto sentencing and consents to the         release of these forms and any supporting documentation

 by the United States Probation Office to the United States.

        B.           Civil or Administrative Actions not Barred; Effect on Other Governmental

 Asencies: Nothing contained herein limits            the rights and authority of the United States to take

 any civil, tax, immigration/deportation or administrative action against the Defendant.

        C.           Supervised Releasel Pursuant to any supervised release term, the Court will

 impose standard conditions upon the Defendant and may impose special conditions related to the

 crime Defendant          committed.    These conditions   will   be restrictions on the Defendant to which the


 Defendant    will   be required to    adhere. Violation of the conditions of supervised release resulting

 in revocation may require the Defendant to serve a term of imprisonment equal to the length of the

 term of supervised release, but not greater than the term set forth in Title 18, United States Code,

 Section 3583(eX3), without credit for the time served after release. The Defendant understands

 that parole has been abolished.

        D.           Mandatorv Special Assessment: This offense is subject to the provisions of the

 Criminal Fines Improvement Act of 1987 and the Court is required to impose a mandatory special

 assessment of       $I   00 per count for a total of $400, which the Defendant agrees to pay at the time    of

 sentencing. Money paid by the Defendant toward any restitution or fine imposed by the Court

 shall be first used to pay any unpaid mandatory special assessment.

         E.          Possibilitv of Detention: The Defendant may be subject to immediate detention


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 pursuant to the provisions of Title 18, United States code, section     3 143.


           F.      Fines and Costs of Incarceration and Supervision: The Court may impose               a

 fine, costs of incarceration, and costs of supervision. The Defendant agrees that any fine imposed

by the Court     will   be due and payable immediately.

           G.      Forfeiture:     The Defendant agrees to forfeit all of the Defendant's interest in all

 items seized by law-enforcement officials during the course             of their investigation.     The

Defendant admits that all United States currency, weapons, property, and assets seized by law

 enforcement officials during their investigation constitute the proceeds of the defendant's illegal

 activity, were commingled with illegal proceeds, or were used to facilitate the illegal activity.

 The Defendant agrees to execute any documents and take all steps needed to transfer title or

 ownership of said items to the United States and to rebut the claims of nominees and/or alleged

 third party owners. The Defendant further agrees that said items may be disposed of by law

 enforcement officials in any manner.

 9.                     WLEDG                             OF                   ANT'S

            ln pleading guilty, the Defendant acknowledges, fully understands and hereby waives his

 rights, including but not limited to: the right to plead not guilty to the charges; the right to be tried

 by   a   jury in a public and speedy trial; the right to file pretrial motions, including motions      to

 suppress or exclude evidence; the right at such       trial to a presumption of innocence; the right to

 require the United States to prove the elements of the offenses charged against the Defendant

 beyond a reasonable doubt; the right not to testify; the right not to present any evidence; the right

 to be protected from compelled self-incrimination; the right at trial to confront and cross-examine

 adverse witnesses; the right to testify and present evidence and the right to compel the attendance


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 of witnesses. The Defendant further understands that by this guilty plea, the Defendant expressly

 waives all the rights set forth in this paragraph.

         The Defendant fully understands that the Defendant has the right to be represented by

 counsel, and if necessary, to have the Court appoint counsel at trial and at every other stage of the

 proceeding. The Defendant's counsel has explained these rights and the consequences of the

 waiver of these rights. The Defendant fully understands that, as a result of the guilty plea, no

 trial will, in fact, occur and that the only action remaining to be taken in this case is the imposition

 ofthe sentence.

         The Defendant is fully satisfied with the representation received from defense counsel.

 The Defendant has reviewed the United States' evidence and discussed the United States' case and

 all possible   defenses and defense witnesses        with defense counsel. Defense counsel has

 completely and satisfactorily explored all areas which the Defendant has requested relative to the

 United States' case and any defenses.

 10.     VOLUNT            NATURE OF THE G              TY PLEA A}[D PLEA A REEMENT:

         This document constitutes the entire agreement between the Defendant and the United

 States, and no other promises or inducements have been made, directly or indirectly, by any agent

 of the United States, including any Department of Justice attomey, concerning any plea to             be


 entered in this   case. In addition, the Defendant    states that no person has, directly or indirectly,

 threatened or coerced the Defendant to do or refrain from doing anything in connection with any

 aspect of this case, including entering a plea of guilty.

         The Defendant acknowledges having voluntarily entered into both the plea agreement and

 the guilty   plea.   The Defendant further acknowledges that this guilty plea is made of the


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     Defendant's own ftee    will   and that the Defendant is, in      fact eudty.

     11.    CONSEOTJENCES OFPOST-PLEAMISCONDUCT:

            After pleading guilty and before sentencilg, ifPefendart commits any crime, other tlan

     mhor taffic offenses, violates any colditions of relea.ie that results in revocation, violatel           gy
    term of this guilty-plea agre€ment, htentiona[y..provides misleading, incomplete or untuthfirl

    informatiou to the U.S. Prcbatiou Office or fails to appear fgr-sentencing, the United States, at its'

    option, uaybe released from its obligations under this agreement. The Unit€d States may also,

    in its discretion, pmce.ed with this        agreemetrt and may adyocate           for any seutencing position

    supported by tho fasts, inctuding but not limited to obsauction          ofjustice and denial of acceptance

    ofresponsibility.

    12,      NO RIGHT TO            WTIEDRAW GUILTY PLEA:

           Pursuaat     to RuIe     ll(c)   aad (d), Federal Rules of Crimimt Procedure, the Defendant

    understands that there   will be no right to withdraw     the plqa gntered under this agrcement, except

    where the Court rejects ttrose portions of the plea                              deal with charges the United

    States agrees to dismiss or not to bring.



    1   (e/*.-                                                               l^
           Date                                          I             TraN GOEKE, #39462(MO)
                                                                       United Statrs Attomey


       7- 8-zL
           Date
                                                                   hE,
                                                        TRAVONLAWRENCE
                                                                              I      alh(co

                                                        Defendant



    7-B-),        r'>                                                                  6A3            o
           Date                                                 L. MILLER
                                                        Attomtry for Defendant

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